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                                                GIGANEWS, INC. and LIVEWIRE SERVICES, INC.
                                             17
                                             18                          UNITED STATES DISTRICT COURT
                                             19                         CENTRAL DISTRICT OF CALIFORNIA
                                             20                                 LOS ANGELES DIVISION
                                             21
                                             22 GIGANEWS, INC., a Texas corporation; Case No.: 2:17-cv-05075-AB (JPR)
                                                LIVEWIRE SERVICES, INC., a Nevada
                                             23 corporation,                         NOTICE OF APPEARANCE OF
                                                                                     SAPNA MEHTA
                                             24              Plaintiffs,
                                             25         v.
                                             26 PERFECT 10, INC., a California
                                                corporation; NORMAN ZADA, an
                                             27 individual; and DOES 1-50, inclusive,
                                             28                    Defendants.

                                                  NOTICE OF APPEARANCE OF SAPNA MEHTA                       2:17-cv-05075-AB (JPR)
                                          Case 2:17-cv-05075-AB-JPR Document 193 Filed 02/12/19 Page 2 of 2 Page ID #:10849



                                              1 TO THE CLERK OF THE COURT, ALL PARTIES, AND THEIR
                                              2 ATTORNEYS OF RECORD:
                                              3          PLEASE TAKE NOTICE that Sapna Mehta of Fenwick & West LLP
                                              4 hereby enters her appearance on behalf of Plaintiffs Giganews, Inc. and Livewire
                                              5 Services, Inc. (“Plaintiffs”). Ms. Mehta’s email addresses, for purposes of receipt
                                              6 of Notices of Electronic Filing are:
                                              7                smehta@fenwick.com       and   mguidoux@fenwick.com
                                              8 Plaintiffs request that Ms. Mehta be included on the Court’s and parties’ services
                                              9 lists.
                                             10
                                             11 Dated: February 12, 2019                FENWICK & WEST LLP
                                             12
F ENWICK & W EST LLP




                                             13
                       ATTORNEYS AT LAW




                                                                                        By: /s/ Sapna Mehta
                                             14                                             Sapna Mehta
                                             15                                         Attorneys for Plaintiffs/Judgment Creditors
                                             16                                         GIGANEWS, INC. and LIVEWIRE
                                                                                        SERVICES, INC.
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                                                  NOTICE OF APPEARANCE OF SAPNA MEHTA     1                      2:17-cv-05075-AB (JPR)
